Case 8:19-md-02879-PWG Document 795 Filed 06/01/21 Page 1of5

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

IN RE: MARRIOTT INTERNATIONAL, INC.
CUSTOMER SECURITY
BREACH LITIGATION

MDL NO. 19-MD-2879
(JUDGE GRIMM)
REPORT AND RECOMMENDATION

THIS DOCUMENT RELATES TO THE CONSUMER TRACT

I. The Dispute

Several months ago, counsel for Accenture and plaintiffs agreed that plaintiffs
could take the depositions of two Accenture employees who live in India by video
conference. The Covid crisis in that country now threatens the scheduled
depositions. One is very ill, as is his wife. The other, although testing positive, is
asymptomatic and may be returning to work soon.

I first became involved with this problem when I worked with counsel to
ascertain a new schedule to permit the depositions to be taken. Recently and
suddenly, a new problem has arisen. Counsel for Accenture insists correctly that as
the Department of State instructs, Indian law requires that:

"Voluntary depositions of Indian nationals and third-
country nationals require prior permission of the Indian 1
Central Authority for the Hague Evidence Convention."

US Dep't of State, Judicial Assistance Country
Case 8:19-md-02879-PWG Document 795 Filed 06/01/21 Page 2 of 5

Information, India, https://travel state.gov/content/travel/

en/legal/Judicial-Assistance-Country-Information/
India.html.

Email of Devon Anderson, May 29, 2021

It is equally true that as counsel for Accenture points out:

Courts have likewise recognized that "Indian law does
not allow for depositions to be taken simply by notice";
instead, "[uJnder Indian law, a High Court must issue a
commission for an examination of witnesses for a
deposition to take place." Life Bliss Found. v. Sun TV
Network Ltd., 2014 WL 12598859, at *3,*4(C.D.Cal. _
May 8, 2014); see also Fed. R. Civ. P. 28(b); India Code
Civ. Proc. Order XXVI, Rules 19-22 (setting forth the
procedure for "Commissions issued of the instance of
foreign Tribunals"); Glenwood Sys., LLC v.
Thirugnanam, 2012 WL 1865453, at *12 (C.D. Cal. May
21, 2012) “Moreover, because Prassath is a foreign
national, plaintiff was obligated to comply with the
additional requirements of the Hague Convention on the
Service Abroad of Judicial and Extra-Judicial Documents
in Civil and Commercial Matters, to which India is a

signatory.”)
Case 8:19-md-02879-PWG Document 795 Filed 06/01/21 Page 3of5

Counsel for plaintiffs argue that Accenture is “sandbagging” them and
engaging in gamesmanship. They point out that counsel for Accenture and
plaintiffs agreed several months ago that the depositions of these two persons
would be taken by video conference while they were in India. In those
conversations, counsel for Accenture never mentioned any need for an order of the
High Court of India before they could proceed. Instead, counsel for Accenture
represented that his firm was representing these two persons and agreed that their
depositions would be taken. Once they had agreed, the parties set dates for the
depositions, which, as explained, were disrupted by the Covid crisis in India. In
plaintiffs' counsel view, Accenture's insistence on an Indian court order before

proceeding is a cynical and recent discovery.

II. Analysis and Conclusion

The failure of counsel to secure the court order is troubling. While the Federal
Rules of Civil Procedure permit the parties to stipulate that a deposition may be
taken ’before any person, at any time or place,” Fed. R. Civ. 29(a), the preceding
Rule speaks directly to a deposition to be taken in a foreign county. Under that
Rule, a deposition may be taken in a foreign country either under an applicable
treaty or convention or under a letter of request, whether or not captioned as a
letter rogatory. Fed. R. Civ. 28(b). Therefore, it is obvious to any lawyer that reads
those Rules that the broad power to take a deposition at any time or place and
before any person under one Rule has to yield to the more specific Rule pertaining
to taking one in a foreign country. That latter Rule gives notice to any lawyer that

the taking the deposition in a foreign country is subject to the more specific
Case 8:19-md-02879-PWG Document 795 Filed 06/01/21 Page 4of5

requirement imposed by a treaty, convention, or “letter rogatory.” As one court has
explained, a party seeking to take a deposition in India, must comply with the
additional requirements of the Hague Convention on the Service Abroad of Judicial
and Extra-Judicial Documents in Civil and Commercial Matters, to which India is
a signatory. Glenwood Sys., LLC, 2012 WL 1865453, at *12

Accenture insisted to me that it was the plaintiffs' burden to secure the order.
But, plaintiffs heard Accenture agree to every aspect of the deposition. Accenture
never protested that plaintiffs needed a court order and that Accenture would not
go forward without one. It was only when the depositions approached, and the
Covid crisis in India threatened those dispositions that Accenture pointed to the
lack of a court order. By then, it was too late to get one and take the depositions on
the dates set by the parties’ agreement.

Plaintiffs believed that Accenture had no objection to going forward. They had
no reason to anticipate that Accenture would insist upon plaintiffs' securing an
Indian court order when Accenture never raised the requirement of that order under
Indian law when both counsel set the dates for the depositions.

Plaintiffs' counsel should have also realized the need for a court order. But if
blame must be assessed, it falls on Accenture. It lulled plaintiffs' counsel into
thinking that Accenture would not insist on such an order before agreeing to the
depositions being taking in India. Accenture’s insistence at the last moment that
plaintiffs had to get a court order was, in my view, and to coin a phrase, too much
too late.

Finally, I appreciate that plaintiffs also argue that Accenture had waived its right

to insist on the court order. I am not so sure about that. In my view, while a party
Case 8:19-md-02879-PWG Document 795 Filed 06/01/21 Page5of5

can waive a requirement imposed by a rule of procedure, it may not waive a
requirement imposed by a sovereign. I have not found any American judicial
authority for that proposition regarding this Indian requirement. Even if I did and it
supported the plaintiffs' view, | would be much more comfortable if an Indian court
had reached that conclusion as a matter of Indian law.

I, therefore, report that the parties must comply with Indian law and recommend

that any failure to do so be attributed to Accenture.

 

fe taccwe®

fee! AOA!
